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 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                           CASE NO. 2:19-CR-00136-MCE
12                                Plaintiff,             STIPULATION REGARDING EXCLUDABLE
                                                         TIME PERIODS UNDER SPEEDY TRIAL ACT;
13                          v.                           ORDER
14   RAMIRO LOPEZ-PACHECO,                               DATE: January 9, 2020
                                                         TIME: 10:00 a.m.
15                                Defendant.             COURT: Hon. Morrison C. England, Jr.
16

17                                             STIPULATION

18          1.      By previous order, this matter was set for a change of plea hearing on January 9, 2020.

19          2.      On December 18, 2019, the Court issued a minute order continuing the January 9, 2020

20 change of plea hearing to April 9, 2020, on the Court’s own motion and due to the unavailability of the

21 Judge. The minute order “encouraged [the parties] to file a Notice of Exclusion of Time if amenable.”

22 Docket No. 26.

23          3.      On January 10, the Court issued a minute order advancing the change of plea hearing to

24 March 17, 2020. Docket No. 29.

25          4.      By this stipulation, the parties now move to exclude time between January 9, 2020, and

26 March 17, 2020, under Local Code T4.

27          5.      The parties agree and stipulate, and request that the Court find the following:

28

      STIPULATION REGARDING EXCLUDABLE TIME              1
      PERIODS UNDER SPEEDY TRIAL ACT
            Case 2:19-cr-00136-JAM Document 35 Filed 01/24/20 Page 2 of 3


 1               a)      The government has represented that the discovery associated with this case

 2        includes more than 800 pages of investigative reports and other documents, more than 25,000

 3        photographs, and video and audio recordings. All of this discovery has been either produced

 4        directly to counsel and/or made available for inspection and copying.

 5               b)      Counsel for the defendant needs the additional time between January 9, 2020 and

 6        March 17, 2020 to consult with his client, review the discovery, and prepare for sentencing

 7        and/or trial in the event the defendant does not enter a plea of guilty at the currently scheduled

 8        change of plea hearing.

 9               c)      Based on the above-stated findings, for the purpose of computing time under the

10        Speedy Trial Act, 18 U.S.C. § 3161, et seq., within which trial must commence, the time period

11        of January 9, 2020 to March 17, 2020, inclusive, is deemed excludable pursuant to 18 U.S.C.§

12        3161(h)(7)(A), B(iv) [Local Code T4].

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     STIPULATION REGARDING EXCLUDABLE TIME              2
     PERIODS UNDER SPEEDY TRIAL ACT
                 Case 2:19-cr-00136-JAM Document 35 Filed 01/24/20 Page 3 of 3


 1          6.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

 2 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

 3 must commence.

 4          IT IS SO STIPULATED.

 5
     Dated: January 22, 2020                                  MCGREGOR W. SCOTT
 6                                                            United States Attorney
 7
                                                              /s/ DAVID W. SPENCER
 8                                                            DAVID W. SPENCER
                                                              Assistant United States Attorney
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10
     Dated: January 22, 2020                                  /s/ Clemente Jimenez
11                                                            Clemente Jimenez
                                                              Counsel for Defendant
12                                                            RAMIRO LOPEZ-PACHECO
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15
                                                      ORDER
16
            IT IS SO ORDERED.
17
     DATED: January 24, 2020
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20                                                 _______________________________________
                                                   MORRISON C. ENGLAND, JR.
21                                                 UNITED STATES DISTRICT JUDGE

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      STIPULATION REGARDING EXCLUDABLE TIME               3
      PERIODS UNDER SPEEDY TRIAL ACT
